      Case 2:15-cr-00190-KJM Document 266 Filed 09/13/17 Page 1 of 1


1

2

3

4                         UNITED STATES DISTRICT COURT

5                       EASTERN DISTRICT OF CALIFORNIA

6

7    UNITED STATES OF AMERICA,             No.    2:15-cr-00190-GEB
8                 Plaintiff,
9        v.                                ORDER FILING ATTACHED EMAIL
                                           COMMUNICATION
10   JOHN MICHAEL DICHIARA, et
     al.,
11
                  Defendant.
12

13             The   court    received    the    attached   email    communication

14   concerning   Defendant    John      DiChiara’s   motion    to    vacate   the

15   September 13, 2017 trial commencement date.             DiChiara’s counsel

16   stated at the September 12, 2017 hearing on the motion that he

17   has no objection to the email being filed on the public docket.

18   Dated:   September 12, 2017

19

20
21

22

23

24

25

26
27

28
                                           1
